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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                     )
         In re:                                                      )       Chapter 11
                                                                     )
         Zohar III, Corp., et al.,1                                  )       Case No. 18-10512 (KBO)
                                                                     )
                                             Debtors.                )       Jointly Administered
                                                                     )

                            NOTICE OF AGENDA OF MATTERS SCHEDULED
                          FOR HEARING ON FEBRUARY 13, 2020 AT 1:00 P.M. (ET)

         MATTER GOING FORWARD

             1.   Zohar Debtors' Motion for Entry of an Order (I) Authorizing the Zohar Debtors to Enter
                  into Potential Transaction Relating to Dura Automotive Systems, LLC and (II) Granting
                  Related Relief [D.I. 1386; 2/6/20]

                  Related Documents:

                  A.      Debtors' Motion for Entry of an Order Pursuant to Bankruptcy Rule 9006(c) and
                          Local Rule 9006-1(e) Shortening the Notice Period for the Zohar Debtors' Motion
                          for Entry of an Order (I) Authorizing the Zohar Debtors to Enter into Potential
                          Transaction Relating to Dura Automotive Systems, LLC and (II) Granting
                          Related Relief [D.I. 1387; 2/6/20]

                  B.      Order Pursuant to Bankruptcy Rule 9006(c) and Local Rule 9006-1(e) Shortening
                          the Notice Period for the Zohar Debtors' Motion for Entry of an Order (I)
                          Authorizing the Zohar Debtors to Enter into Potential Transaction Relating to
                          Dura Automotive Systems, LLC and (II) Granting Related Relief [D.I. 1390;
                          2/7/20]

                  C.      Notice of Hearing [D.I. 1391; 2/7/20]

                  Response Deadline:                         February 12, 2020 at 4:00 p.m. (ET)

                  Responses Received:

                  D.      Informal response from the Patriarch Stakeholders


         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
         Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
         (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times
         Square, c/o FTI Consulting, Inc. New York, NY 10036.
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               Status:      The Dura Debtors and Dura Committee do not oppose the motion. The
                            Debtors are working with the Patriarch Stakeholders to resolve their
                            informal comments to the proposed order. To the extent resolved, the
                            Debtors will file a revised form of order under certification of counsel. To
                            the extent not resolved, this matter will go forward.


         Dated: February 11, 2020          YOUNG CONAWAY STARGATT & TAYLOR, LLP
                Wilmington, Delaware
                                           /s/ Joseph M. Barry
                                           James L. Patton, Jr. (No. 2202)
                                           Robert S. Brady (No. 2847)
                                           Michael R. Nestor (No. 3526)
                                           Joseph M. Barry (No. 4221)
                                           Ryan M. Bartley (No. 4985)
                                           Shane M. Reil (No. 6195)
                                           Rodney Square
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                                           Counsel to the Debtors and Debtors in Possession




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